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                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia



                                                         June 29, 2021

By USAfx
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Counsel for Defendant

                               Re:    United States v. Michael Joseph Foy
                                      Criminal No.: 21-CR-108 (TSC)

Dear Counsel:

       Pursuant to our discovery obligations, we are providing the following files via USAfx:

      All of the files listed on the attached index, which are part of the Foy case file.

Among other things, this letter memorializes ongoing discovery that has been provided to you in
the above-referenced matter. By now, you are connected to the USA File Exchange (“USAfx” or
“the Box”). As you are aware, there is a case-folder labeled, “Michael Joseph Foy” and you and
your paralegal have access to this case-folder and are able to download its contents.

       I.       Discovery

                A.    Documents and Digital Files:

        Discovery in the above mentioned case has been uploaded to to the USA File Exchange
(“USAfx” or “the Box”) titled “Michael Joseph Foy” Please keep in mind that all of the items
placed in the USAfx case-folder will be deleted automatically – some in as few as 30 days or
less. It is therefore imperative that you download all discovery as soon as possible.

       Note that all of these files and their related physical attachments are currently being
formally processed for discovery by the discovery team assigned to the Capitol Riots cases. As
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such, the same files will be re-produced with bates-stamps at a later date. Nevertheless, we wanted
to provide you with we can at this time, as we wait for this processing to be finalized.


  Platform    Quantity      Description                                                    Production
                                                                                              Date

   USAfx      1 pdf         Michael Foy ID 6428 Face Search (redacted).pdf               2021-06-29




       Please be advised that we anticipate providing additional discovery in this case.

               B.      Government’s Discovery Requests

        The government hereby makes a reverse discovery request pursuant to Fed. R. Crim. P.
16(b), including, but not limited to the following:

       (1) notice of documents and tangible objects the defendant expects to introduce;
       (2) a Jencks request for all prior statements of any defense witness (excluding the
           defendant);
       (3) a Lewis request (for which we request the name, date of birth, sex, and social security
           number of each defense witness prior to trial); and
       (4) a request for information pertaining to any expert or scientific testimony or evidence.

       Pursuant to Fed. R. Crim. P. 16, we note our continuing request to receive any material
pursuant to Rule 16(b) as the case proceeds.

               C.      Upcoming Discovery

       The government anticipates providing numerous files related to the Foy casefile in the
coming weeks. Some of it will be duplicative, but will be provided nonetheless. Like the files being
provided in connection with this letter, all the files will be re-disclosed once processed and bates-
stamped by the discovery team.

         Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of similarly
situated defendants, and citizen tips. The government is working to develop a system that will
facilitate access to these materials. In the meantime, please let me know if there are any categories
of information that you believe are particularly relevant to your client.

        Please contact me if you have any issues accessing the information, and to confer regarding
pretrial discovery as provided in Fed. R. Crim. P. 16.1.

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        I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S. 83
(1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes to
light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

         I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal Rules
of Criminal Procedure, including results or reports of any physical or mental examinations, or
scientific tests or experiments, and any expert witness summaries. I also request that defendant(s)
disclose prior statements of any witnesses defendant(s) intends to call to testify at any hearing or
trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I request that such
material be provided on the same basis upon which the government will provide defendant(s) with
materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant provide the government with the appropriate written notice if defendant
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.


       II.     Contact Information

       If you have any questions about the information provided above, you may contact me by
telephone, fax, or mail; as provided below.

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       United States Attorney’s Office
       for the District of Columbia
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                                                      Respectfully,

                                                      CHANNING D. PHILLIPS
                                                      ACTING UNITED STATES ATTORNEY


                                               By:    _/s/ Emory V. Cole_______
                                                      Emory V. Cole
                                                      Assistant United States Attorney



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